U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 1 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 2 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 3 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 4 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 5 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 6 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 7 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 8 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 9 of 10
U.S. Bankruptcy Court - Hawaii #18-00499 Dkt # 53 Filed 10/05/18 Page 10 of 10
